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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            :
                                    :
            v.                      :               Case No. 1:21-cr-605 (RC)
                                    :
ISAAC WESTBURY,                     :
AARON JAMES, and                    :
ROBERT WESTBURY,                    :
                                    :
                  Defendants.       :
_____________________________________

                               JOINT MOTION TO CONTINUE

        The United States of America, by and through its undersigned counsel, and joined by

defendants Isaac Westbury, Aaron James, and Robert Westbury (“the defendants”), requests that

the status conference currently scheduled for March 31, 2022, be continued until May 18, 2022 at

1:00 p.m., and that time be excluded under the Speedy Trial Act, 18 U.S.C. § 3161. In support of

this request, the parties submit as follows:

        1.      On September 29, 2021, the defendants were charged by Indictment with various

offenses arising out of their alleged conduct on January 6, 2021. See ECF No. 1.

        2.      On October 4, 2021, the defendants were arrested in Lindstrom, Minnesota and

released on certain pretrial conditions. See ECF Entry, 10/4/2021; ECF Nos. 8-9 & 12.

        3.      On October 12, 2021, the defendants appeared before United States Magistrate

Judge G. Michael Harvey. See ECF Entry, 10/12/2021. The Government requested an exclusion

of time under the Speedy Trial Act until October 29, 2021 for reasons set forth in open court. The

Court granted this request and excluded time from October 12, 2021 until October 29, 2021 in the

interest of justice. Id.

        4.      On October 29, 2021, the defendants appeared before the Court. See ECF Entry,

10/29/2021. The parties requested a 90 day continuance and an exclusion of time under the Speedy

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Trial Act for the Government to provide discovery, for the defense to review discovery, and to

discuss a potential resolution of this matter. The Court granted this request and excluded time

from October 29, 2021 until January 31, 2022 in the interest of justice. Id.

       5.        The Government then filed an unopposed Motion for Rule 44 Inquiry as to the

defendants, which the Court granted on January 27, 2022. See ECF Nos. 34, 37. The Court has

appointed as Conflict Attorney Barry Coburn, who has been directed to complete his investigation

regarding defendants Isaac Westbury, Aaron James, and Robert Westbury in this action, and

defendant Jonah Westbury in the related action of United States v. Jonah Westbury, Case No. 1:21-

CR-371 (RC), and prepare a report and recommendation on or before April 29, 2022. See ECF

Nos. 37, 45; ECF Entry, 2/24/2022.

       6.        On January 31, 2022, the defendants appeared before the Court. See ECF Entry,

1/31/2022. The parties requested a 60 day continuance and an exclusion of time under the Speedy

Trial Act for the Government to provide discovery, for the defense to review discovery, and to

discuss a potential resolution of this matter. The Court granted this request and excluded time

from January 31, 2022 until March 31, 2022 in the interest of justice. Id.

       7.        The Government filed an unopposed motion for joinder in this action and United

States v. Jonah Westbury on February 16, 2022. See ECF No. 43. That motion remains pending

in both cases.

       8.        On February 16, 2022, the Court conducted a status conference in the matter of

United States v. Jonah Westbury, No. 1:21-CR-371, ECF Entry, 2/16/2022. In order that the

Conflict Attorney have time to complete his report and recommendation and in light of continuing

discovery disclosures by the Government, the parties requested a 75 day continuance and an

exclusion of time under the Speedy Trial Act. Id. The Court granted this request and excluded



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time from February 16, 2022 until May 18, 2022 at 1:00 p.m. Id. In response to the Government’s

oral motion to continue this related action, the Court stated that the parties should seek a

continuance and exclusion of time under the Speedy Trial Act by written motion.

       9.       The Government has provided both case-specific and global discovery to Defense

Counsel and continues to endeavor to provide additional discovery. Counsel for defendants needs

additional time to continue reviewing discovery. A continuance also is appropriate so Mr. Coburn

may complete his investigation and report and recommendation.

       10.      Accordingly, the parties now jointly move this Court to continue the status

conference, currently scheduled for March 31, 2022, to May 18, 2022. Such a continuance will

permit Mr. Coburn to compete his investigation and allow Defense Counsel additional time to

review discovery.

       11.      The parties also request that time be excluded from calculation, pursuant to the

Speedy Trial Act, 18 U.S.C. § 3161, until the date of the continued status conference in this matter.

The parties submit that a continuance is warranted and that an order excluding time would best

serve the interests and ends of justice and outweigh the interests of the public and defendant in a

speedy trial pursuant to the factors described in 18 U.S.C. §3161(h)(7)(A), (B)(i), (ii), and (iv).




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       WHEREFORE, the parties request that this Court continue the Status Conference currently

scheduled for March 31, 2022, to May 18, 2022. The parties further request that the Court toll

time under the Speedy Trial Act until the new hearing date.

                                            Respectfully submitted,

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                                            D.C. Bar No. 481052

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